Case 2:85-cv-04544-DMG-AGR Document 259 Filed 09/16/16 Page 1 of 1 Page ID #:7469



                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
                                  CIVIL MINUTES - GENERAL

   Case No.    CV 85-4544-DMG (AGRx)                                  Date     September 16, 2016

   Title Jenny L. Flores v. Loretta E. Lynch, et al.


   Present: The Honorable      DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

                 Kane Tien                                             Anne Kielwasser
                Deputy Clerk                                            Court Reporter

      Attorneys Present for Plaintiff(s)                      Attorneys Present for Defendant(s)
             Carlos R. Holguin                                     Sarah B. Fabian, USDOJ
              Holly S. Cooper

   Proceedings: Plaintiffs' Motion to Enforce Settlement [239]

          The cause is called and counsel state their appearance. The Court hears argument. The
   Court advises counsel that the motion shall be taken under submission and a written order will
   issue.

           The parties inform the Court on the status of the settlement discussions. A joint status
   report regarding what remains to be scheduled and/or decided is due by September 23, 2016.




                                                                                               :49



   CV-90                              CIVIL MINUTES - GENERAL                Initials of Deputy Clerk KT
